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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 (Alexandria Division)

 CURTIS LEVAR WELLS, JR.,                         )
 Plaintiff,                                       )
                                                  )
 v.                                               )   Case No.    1:22-cv-00140-MSN-IDD
                                                  )   Next Event: Dec 16, 2022
 JAVIER FUENTES, et al.,                          )               Motion Hearing
 Defendants                                       )
                                                  )

                                     MOTION TO STRIKE

        COMES NOW PLAINTIFF, by counsel, and for this Motion to Strike the Notice of

 Substitution (Dkt. No. 55). Plaintiff relies upon and incorporates his Memorandum in Support

 hereof, filed contemporaneously.

        WHEREFORE, Plaintiff respectfully requests the Court TO STRIKE Defendant

 Armstrong, Shepherd, and the United States’ Notice of Substitution (Dkt. No. 55), and for such

 other and additional relief as the Court deems reasonable and just.

 Dated October 11, 2022.

                                              Respectfully submitted,

                                              Curtis Wells,

                                              By:_____/s/___________________________
                                              Counsel

                                              Matthew A. Crist, VSB No. 85922
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                                              Counsel for Plaintiff




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                                 CERTIFICATE OF SERVICE

          I hereby certify on this day, October 11, 2022, that the foregoing paper was filed and
 served with the Clerk of Court via the Court’s CM/ECF system, which will send notice of such
 filing to all registered users.

                                             _____/s/___________________________
                                             Matthew A. Crist
                                             Counsel for Plaintiff




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